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   November 23, 2020

   VIA ECF

   Hon. Lorna G. Schofield
   United States District Judge
   Thurgood Marshall
   United States Courthouse
   40 Foley Square
   New York, New York 10007

          Re:     19-cv-10475 (LGS-DCF), Annie Farmer v. Darren K. Indyke, et al.

   Dear Judge Schofield:

           On behalf of defendant Ghislaine Maxwell, I write in response to plaintiff’s
   request for a pre-motion conference to discuss her anticipated motion to dismiss this
   action with prejudice pursuant to Rule 41(a)(2). As explained during counsel’s
   conferral call, Ms. Maxwell does not “oppose” the request to dismiss per se. Rather,
   Ms. Maxwell simply requests that the dismissal include two standard terms to ensure
   the enforceability of the dismissal with prejudice as contemplated by the Rule and to
   preserve Ms. Maxwell’s rights in a pre-existing indemnification lawsuit.

           First, Ms. Maxwell requests her counsel be provided a copy of plaintiff’s
   signed and executed release. In the event plaintiff attempts to sue her again in any
   forum at some unknown time in the future, Ms. Maxwell needs a signed and executed
   release so that she has a legally enforceable document to seek dismissal of any such
   claim. Plaintiff’s counsel’s representations in correspondence that she is releasing
   Ms. Maxwell are insufficient. Ms. Maxwell has had no role in negotiating the terms
   of the Epstein Victims’ Compensation Program. She is neither a signatory to any of
   its terms nor contractually bound by them. Whatever plaintiff was assured by the
   Program in terms of confidentiality apparently did not take into account the needs of
   third-party beneficiaries of her agreement to release “any employees of the Estate,
   Mr. Epstein, or any entities owned or controlled by the Estate.” Counsel is unaware
   of any legal support for refusing to provide a copy of a release to the released party;
   plaintiff’s pre-motion letter cites none.

          Second, Ms. Maxwell also seeks to ensure that the dismissal is without
   prejudice to her ability to seek indemnification from Darren K. Indyke and Richard
   D. Kahn, the executors of the Estate of Jeffrey E. Epstein (the “Estate”) for fees and
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   costs incurred in defending against this action. Her request for indemnification is
   presently subject to pending litigation in the Superior Court of the Virgin Islands
   District of St. Thomas & St. John, Case Number ST-20-CV-155 (the
   “Indemnification Litigation”). In her proposed stipulation of dismissal under Rule
   41(a)(i)(A)(ii), plaintiff included the following language: “this action shall be
   dismissed with prejudice, with each party to bear its own attorneys’ fees and costs.”
   The broad language contained in plaintiff’s proposed stipulation could arguably act to
   waive Ms. Maxwell’s ability to recover fees and costs incurred during litigation of
   this case in the Indemnification Litigation. If, plaintiff moves under Rule 41(a)(2) for
   dismissal, Ms. Maxwell requests that the court include a term of dismissal that
   expressly preserves Ms. Maxwell’s rights to seek fees and costs in the
   Indemnification Litigation against the Estate.

           F.R.C.P. 41(a)(2) provides “an action may be dismissed at the plaintiff’s
   request only by court order, on terms that the court considers proper.” (emphasis
   supplied). Terms and conditions are generally imposed by the district court under
   Rule 41(a)(2) to protect the defendant from prejudice. 9 Wright & Miller, Federal
   Practice and Procedure, § 2366 (3d ed.2008). “Courts have imposed a variety
   of terms and conditions, including the imposition of costs or attorneys’ fees or
   requirements that the plaintiff produce documents or agree to allow discovery to be
   used in any subsequent action.” In re Wellbutrin XL Antitrust Litigation, 268 F.R.D.
   539, 543-44 (E.D. Pa. 2010) (emphasis supplied) (citing 9 Wright & Miller, Federal
   Practice and Procedure, § 2366).

          For the foregoing reasons, should plaintiff move this Court to for a dismissal
   under Rule 41(a)(2), Ms. Maxwell respectfully requests that any order entered by the
   Court pursuant to 41(a)(2) include the following terms:

          i. Plaintiff shall provide to counsel for Ms. Maxwell a copy of the
             executed General Release entered in connection with the Epstein
             Victims’ Compensation Program (the “Program”) within two (2)
             business days of this Order; and

          ii. Plaintiff and Defendants Darren K. Indyke and Richard D. Kahn
              shall pay their own fees and costs associated with this matter.
              Defendant Maxwell shall not seek fees or costs associated with the
              matter from Plaintiff, unless Rule 41(d) is implicated by a future
              suit. Nothing herein shall be construed to preclude Ms. Maxwell
              from seeking fees or costs related to this matter from the Estate Of
              Jeffrey E. Epstein, Darren K. Indyke, in his capacity as Executor of
              the Estate Of Jeffrey E. Epstein, Richard D. Kahn, in his capacity
              as Executor of the Estate Of Jeffrey E. Epstein, or NES, LLC, a
              New York Limited Liability Company, or release any such claims
              as between the Defendants.
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   Respectfully Submitted,




   Laura A. Menninger

   CC: Counsel of Record via ECF
